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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS LLC,

                   Plaintiff,
    v.
                                                      C.A. No. 1:19-cv-02261-RGA
BROWN-FORMAN CORPORATION,

                   Defendant.


                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Now comes Plaintiff, Symbology Innovations LLC, by and through the undersigned

counsel, and hereby voluntarily dismisses all of the claims asserted against Defendant Brown-

Forman Corporation in the within action with prejudice. This notice of dismissal pursuant to

Fed. R. Civ. P. 41(a)(1) is proper inasmuch as the Defendant has neither answered nor moved for

summary judgment.

Dated: March 12, 2020                             Respectfully submitted,

Together with:                                    STAMOULIS & WEINBLATT LLC

SAND, SEBOLT & WERNOW CO., LPA                    /s/Stamatios Stamoulis
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   SO ORDERED this _____ day of ___________________, 2020.



                                          UNITED STATES DISTRICT JUDGE




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